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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                             )
UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )          Criminal Case No. 22-cr-00007-LKG
                                             )
MARILYN J. MOSBY,                            )          Dated: August 15, 2022
                                             )
       Defendant.                            )
                                             )

                             AMENDED SCHEDULING ORDER
        The Court, with the assistance of the parties, MODIFIES the Scheduling Order, dated May
 23, 2022, as follows:


     Consolidated response to defendant’s motion
     to dismiss; defendant’s motion for a bill of
     particulars; and defendant’s motion to
     disqualify counsel.                                        March 11, 2022

     Consolidated reply in support of defendant’s
     motion to dismiss; defendant’s motion for a
     bill of particulars; and defendant’s motion to
     disqualify counsel.                                        March 25, 2022

     Hearing on pre-trial motions and first pre-trial
     status conference.                                         April 14, 2022, at 2 p.m., in
                                                                Courtroom 1A of the Edward A.
                                                                Garmatz Building, 101 West
                                                                Lombard Street, Baltimore,
                                                                Maryland 21201.

     Defendant’s motion for leave to file pre-trial
     motion(s).                                                 June 1, 2022

     Defendant’s expert disclosures.                            July 1, 2022

     Government’s motion(s) to exclude, any
     motion(s) in limine; proposed voir dire;
     proposed jury instructions; and a proposed jury
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verdict form. In preparing proposed voir dire,
proposed jury instructions, and a proposed jury
verdict form, counsel shall meet and confer
and, to the fullest extent possible, make a joint
submission. Counsel shall identify any matters
of disagreement through supplemental filings.             July 15, 2022

Response(s) to motion(s) in limine and any
motion(s) to exclude.                                     July 29, 2022

Replies in support of motion(s) in limine and
any motion(s) to exclude.                                 August 5, 2022


Pre-trial status conference and hearing on motion(s) in
limine, to exclude and to supplement.
                                                          September 7, 2022 at 2 p.m., in
                                                          Courtroom 1A of the Edward A.
                                                          Garmatz Building, 101 West
                                                          Lombard Street, Baltimore,
                                                          Maryland 21201.
Final pre-trial status conference and hearing on
remaining pre-trial motion(s).
                                                          September 14, 2022, at 2 p.m., in
                                                          Courtroom 1A of the Edward A.
                                                          Garmatz Building, 101 West
                                                          Lombard Street, Baltimore,
                                                          Maryland 21201.

Jury trial.                                               September 19, 2022, at 9:30 a.m., in
                                                          Courtroom 1A of the Edward A.
                                                          Garmatz Building, 101 West
                                                          Lombard Street, Baltimore,
                                                          Maryland 21201.


   IT IS SO ORDERED.


                                               s/ Lydia Kay Griggsby
                                               LYDIA KAY GRIGGSBY
                                               United States District Judge




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